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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                      )              CHAPTER 13
                                            )
Charles Antonio Croff                       )              CASE NO. 18-69002-jrs
                                            )
         Debtor(s).                         )
                                            )

     REQUEST TO CONVERT CHAPTER 13 CASE TO ONE UNDER CHAPTER 7

       NOW COMES, Charles Antonio Croff, Debtor(s), by and through her attorney, Stanton
and Worthy, LLC, and moves this Honorable Court to convert this chapter 13 case to a case
under chapter 7 and states as follows:

                                                 1.
       The Debtor filed a petition for relief pursuant to chapter 13 Title 11 U.S.C. on November
9, 2018.
                                                 2.
       The Debtor has not converted the chapter 13 case from a case under Chapter 7.

                                                 3.
       The Debtor desires to convert the pending Chapter 13 case to one under Chapter 7 of the
United States Bankruptcy Code.
                                                 4.
       The Debtor is eligible to convert to this Chapter 13 case to a case under Chapter 7.

       Wherefore, Debtor prays that this Honorable Court convert this Chapter 13 case to a case
under Chapter 7.

Respectfully submitted this 6th day of April 2020
                                                     /s/ Shannon Charlmane Worthy______
                                                    Shannon Charlmane Worthy
                                                    Attorney for the Debtor
                                                    GA Bar No. 733895
                                                    Stanton and Worthy, LLC
                                                    547 Ponce de Leon Avenue, Suite 150
                                                    Atlanta, GA 30308
                                                    (404) 800-6415 Phone
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                       )               CHAPTER 13
                                             )
Charles Antonio Croff                        )               CASE NO. 18-69002-jrs
                                             )
         Debtor(s).                          )
                                             )

                                 CERTIFICATE OF SERVICE

       I hereby certify that I am more than 18 years of age and that I have this day served a copy
of the within Request to Convert Chapter 13 Case to Relief Under Chapter 7 upon the following
by depositing a copy of the same in U.S. Mail with sufficient postage affixed thereon to ensure
delivery:

Debtor(s)
Charles Antonio Croff
4845 Price Street
Forest Park, GA 30297 (Electronically)

Nancy J. Whaley (Via ECF)

***Please see attached Creditor’s Matrix

Respectfully submitted this 6th day of April 2020
                                                      /s/ Shannon Charlmane Worthy______
                                                     Shannon Charlmane Worthy
                                                     Attorney for the Debtor
                                                     GA Bar No. 733895
                                                     Stanton and Worthy, LLC
                                                     547 Ponce de Leon Avenue, Suite 150
                                                     Atlanta, GA 30308
                                                     (404) 800-6415 Phone
